                UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF TENNESSEE
                         AT GREENEVILLE




UNITED STATES OF AMERICA                   )
                                           )
v.                                         )            NO. 2:03-CR-62
                                           )
GARY MUSICK                                )



                                  ORDER


            This criminal matter is before the Court to address the defendant’s

pending motions regarding his juvenile court records. After careful consideration

of the record as a whole, it is hereby ORDERED as follows:

            1. Defendant Gary Musick’s Motion to Suppress any Information

Pertaining to Juvenile Proceedings for Consideration at Sentencing is DENIED.

[Doc. 569]. This information may be utilized pursuant to Tenn. Code Ann. §37-1-

133(b).

            2. Defendant Gary Musick’s Motion for Disclosure of Information

Necessary [sic] Contest and Suppress Information Illegally Obtained for the

Purpose of Increasing Defendant’s Sentence is DENIED because such evidence




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is not illegally obtained pursuant to Tenn. Code Ann. § 37-1-133(b), and the

defendant cites no authority for his contentions. [Doc. 570].



            ENTER:

                                                 s/J. RONNIE GREER
                                             UNITED STATES DISTRICT JUDGE




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